                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CIVIL ACTION NO.

JANE DOE,                                     )
                                              )
                      Plaintiff,              )
                                              )
V.                                            )
                                              )                    COMPLAINT
CHARLOTTE-MECKLENBURG                         )              DEMAND FOR JURY TRIAL
BOARD OF EDUCATION;                           )
BRADLEY LEAK, individually and as an agent )
of Charlotte-Mecklenburg Schools;             )
ANTHONY PERKINS, individually and             )
as an agent of Charlotte-Mecklenburg Schools; )
                                              )
                      Defendants.             )



        Plaintiff, Jane Doe ("Ms. Doe"), by and through her undersigned counsel, brings this action
against Defendant Charlotte-Mecklenburg Schools Board of Education ("CMS"), Defendant
Bradley Leak, and Defendant Anthony Perkins (collectively "Defendants") for deliberate

indifference and negligence in failing to prevent, investigate, or otherwise address the rape of Ms.
Doe while attending Myers Park High School (MPHS). On November 3, 2015, School Safety
Resource Officer ("SSRO"), Defendant Leak, witnessed and then failed to intervene when an 18-
year-old student, Q.W., forcibly abducted a minor student, Ms. Doe, from campus. Ms. Doe

frantically sent text messages to her classmates and mother stating she had been "kidnapped,"
needed "help," was "scared," and pled for someone to "call the cops" and "go to officer lee" [sic].
A panicked classmate immediately reported these messages to Defendant Leak, but he again
refused to act and protect Ms. Doe. Even when Ms. Doe's father called MPHS, Defendant Leak
refused to act by claiming, without any basis, that Ms. Doe - a student in good standing without


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 any disciplinary history whatsoever - was merely skipping school. Left in the woods without any
 help, Q.W. brutally raped Ms. Doe as she desperately pleaded for him to stop. Despite notice of
the rape. Defendants subsequently accused Q.W. and Ms. Doe of truancy to obstruct any campus

or criminal investigation into the rape to continue responding with deliberate indifference. This
lawsuit seeks to obtain justice for Ms. Doe based upon the Defendants' multiple violations of her
rights under applicable federal and state law.

                                      JURSIDICTION & VENUE

        1. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331, 1343 because Plaintiffs claims assert federal questions regarding her civil rights under Title
IX of the Education Amendments of 1972 ("Title IX"), 20 U.S.C. §§ 1681, e^ seq., and under 42
U.S.C.§1983.

        2. This Court also has supplemental jurisdiction over Plaintiffs state law claims

pursuant to 28 U.S.C. § 1367 because the state law claims are so related to the federal law claims

in this action to form part of the same case and controversy.

        3. This Court has personal jurisdiction over Defendants pursuant to Federal Rule of

Civil Procedure 4(k)(l) because Defendants, upon information and belief, are located and regularly

conduct business in this jurisdiction and because the conduct giving rise to this cause of action

occurred in this judicial district.

       4. Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because Defendants,

upon information and belief, reside within the judicial district and a substantial number of the
events and omissions which form the basis of this complaint occurred within this district.




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                                             PARTIES

          5. Plaintiff, Jane Doe, is a 20-year-old college student whose permanent residence is
 in Charlotte, North Carolina. See Exhibit A to this Motion for Leave to Proceed Under Pseudonym

and Memorandum in Support Thereof. At all times relevant to this Complaint, Ms. Doe was a

minor student in her junior year at MPHS in Charlotte, North Carolina. Plaintiff has filed a Motion

for Leave to Proceed Under Pseudonym and Memorandum in Support Thereof in this matter for

the sole purpose of protecting her identity and dignity in this highly personal and sensitive matter

as the victim of rape and a minor student at all relevant times.

          6. Defendant Charlotte-Mecklenburg Schools Board of Education ("CMS") is a

corporate body located in Charlotte, North Carolina, with powers granted by the State of North

Carolina to "general [ly] control and supervis[e] . . . all matters pertaining to the public schools in

their respective administrative units and . . . [to] enforce the school law in their respective units."

N.C. Gen. Stat. §§ 115C-36, 115C-40. MPHS is a public educational institution under the control

and supervision ofCMS and a recipient of federal funding from the U.S. Department of Education

to subject it to Title IX of the Education Amendments Act of 1972 ("Title IX"), 20 U.S.C. §§1681,

et seq.


          7. Defendant Bradley Leak is, upon information and belief, a resident ofIS^ecklenburg

County, North Carolina. Defendant Leak is sued in his individual capacity and in his official

capacity as a SSRO at MPHS. See N.C. Gen. Stat. § 115C-61; see also N.C. Gen. Stat. § 160A-

288.4(d); N.C. Gen. Stat. §16. At all times relevant to this Complaint, Defendant Leak served as

an SSRO and thus acted as an agent ofCMS.

       8. Defendant Anthony Perkins is, upon information and belief, a resident of

Pasquotank County, North Carolina. Defendant Perkins is sued in his individual capacity and in



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his official capacity as the Assistant Principal ofMPHS. At all times relevant to this Complaint,

Defendant Perkins served as Assistant Principal and thus was an employee ofCMS.

                                           FACTS

         9. During the fall of 2015, Ms. Doe was enrolled and attended MPHS as a minor

student in her junior year.

         10. On November 3, 2015, around 6:30 am, Ms. Doe and several friends were in the

Language Arts ("LA") building at MPHS waiting for classes to begin when Q.W. sent her text

messages asking her to skip class with him that day. Ms. Doe declined and informed her

classmates of the same.

         11. Q.W. then offered to walk Ms. Doe from the LA building to her first period

weightlifting class at the gym across campus, which started at 7:15 a.m. Ms. Doe accepted.

         12. Q.W. met Ms. Doe at the LA building and the two began walking to the gym around

7:00 a.m. As they walked, Q.W. continued to pressure Ms. Doe to skip class with him. Ms. Doe

clearly and repeatedly declined.

       13. As the two walked near the parking area, Defendant Leak was on duty as the SSRO

for MPHS. He saw them and called out to Ms. Doe asking where she was going. During school

hours and while on school premises, Q.W. then immediately grabbed and squeezed Ms. Doe's arm

and pulled her toward the woods adjacent to campus.

       14. Ms. Doe did not want to skip class and get in trouble. She also feared for her safety

and verbally protested Q.W.'s actions during the abduction, but he pulled her further into the
woods.


       15. Upon information and belief, Defendants knew that the wooded area immediately

adjacent to MPHS is a dangerous location for students where sexual assaults have occurred. See



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e.g. "Sexual Assault Reported Near Myers Park High School," WBTV (May 4, 2016), available
a/http://www.charlotteobserver.com/news/local/article75658457.html.

        16. The 2015-2016 Student Handbook prohibits MPHS students from "leaving campus
without permission from an administrator."

        17. The State of North Carolina has created a legal duty for Defendant CMS to "provide
a safe school environment." N.C. Gen. Stat. §1150-47(61). To fulfill this duty, the State
authorizes Defendant CMS to enter into an agreement with local law enforcement "to provide
security at the schools by assigning volunteer school safety resource officer." Id.
        18. Defendant Leak acted under color of law and as an agent of CMS while the SSRO
at MPHS. While serving as SSRO, he was deliberately indifferent and negligent when he acted in
bad faith by refusing to take any action to assist or otherwise rescue Ms. Doe after witnessing her
forcible abduction from MPHS's campus. Defendant Leak had the legal authority, duty, and
obligation to take action and protect Ms. Doe.

       19. During the abduction, Ms. Doe sent text messages to her classmates conveying the
abduction and her fear of Q.W.:

              "Help me;"

              "Call the cops;"

              "Somebody go to officer lee" [sic];

              "I'm so scared;"

              "Seriously go to officer lee" [sic];
              itl




              iii
              "Quit calling me; He's watching me;"

              "Please I'm being serious;"

              "IDK WHERE WE ARE;" and



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                <•<•.
                "Guys I'm being serious; I'm really scared; Nobody is helping."  ??




In response to these messages, one of her classmates worried: "What if she's getting rape; Cause

he's like following her around." Ms. Doe's classmates knew Q.W. had been aggressive in sexually

pursuing Ms. Doe previously, and as recently as that morning.

        20. Ms. Doe's friend, J.D., immediately sought out Defendant Leak and reported the

abduction. Defendant Leak refused to take any action to prevent harm to Ms. Doe. J.D.'s pleas to

Defendant Leak, and his refusal to take immediate action, are documented in an audio recording.

        21. J.D. sent a text message to Ms. Doe indicating that Defendant Leak refused to help.

        30. Ms. Doe had also sent text message to her mother pleading for help:
               "1
               "Mom I'm being kidnapped; Call somebody. Dont call me" [sic];

                "Officer Lee saw me; Mom Fr don't call me I'm scared; Mom don't call me"
                [sic];

               "Yes mom I'm being serious; I'm so serious;"
               tf                                             ?3




               "Mom
               "1
                    call the police;"
               "
               "All I know is. I'm scared asf. I told him I didn't want to do this" [sic]; and

               "I think he's crazy."

Ms. Doe also attempted to provide her mother information about her location to aid in her rescue.

       31. Ms. Doe's mother asked her husband to contact MPHS in order to locate and protect

their daughter. Defendant Leak took the call and confirmed that he had observed Q.W. and Ms.

Doe leave campus. Defendant Leak then falsely stated without any basis that Ms. Doe was

skipping class voluntarily, despite her being a student in good standing without any disciplinary

or tmancy history whatsoever. This discouraged Ms. Doe's father from taking any further at that

time action to rescue or locate his daughter.




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         24. During this time, Q.W. raped Ms. Doe. Specifically, Q.W. ignored Ms. Doe's

protests and forcibly kissed her. When Ms. Doe pulled away, saying "I don't want to do this,"

Q.W. unzipped his pants, pulled out his genitals, and repeatedly demanded that Ms. Doe "kiss it

like you kissed me." Ms. Doe kept saying "no." Q.W. then pushed her to her knees and forced

her head near his genitals. She begged him to stop and looked toward the path to see if anyone

was coming to rescue her given her numerous requests for help via text message. Q.W. then forced

his penis into Ms. Doe's mouth and proceeded to pull her hair to force her head back and forth.

Ms. Doe repeatedly struggled to turn her head away and stop the rape.

        25. At one point during the sexual attack, a group of students came upon Q.W. and Ms.

Doe in the woods. Q.W. stopped the rape until the students walked past, and Ms. Doe began crying

when he continued again. Q.W. then ejaculated. To intentionally preserve evidence of the rape,

Ms. Doe spit out his semen onto her shirt. This caused Q.W. to panic and attempted to rub off the

semen.


       26. Around 7:50 am, Ms. Doe informed her mother via text message of the sexual

assault: "I was attacked." Her parents again contacted Defendant CMS to demand that officials

locate and help their daughter.

       27. Defendants Leak and Perkins then went to look for Ms. Doe in a patrol vehicle.

They located Q.W. and IVIs. Doe outside the woods.

        28. Ms. Doe was in distress and appeared disheveled. Her hair was in disarray, she had

mud on her clothing, her glasses were broken, and there was semen on her shirt. Despite her

obvious distress, Defendant Leak directed Ms. Doe to sit next to Q.W. in the patrol vehicle, which

she refused to do. Defendant Leak then put her in the front seat by him to interrogate her while




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 Q.W. remained in the back of the vehicle. Ms. Doe was in shock, and terrified ofQ.W., who was

 seated directly behind her, so she was unable to report the rape at that time.

        29. Once back on campus, Defendant Perkins removed Q.W. from the patrol vehicle.

Defendant Leak then asked, and Ms. Doe confirmed, that Q.W. had sexually assaulted her.

        30. Despite actual notice of the rape, none of the Defendants took a statement from Ms.

Doe to investigate or resolve the complaint, as required under Title IX. Instead, Defendants merely

accepted Q.W.'s version of events without any investigation. Furthermore, none of the Defendants

offered to transport Ms. Doe to a hospital or otherwise assist her in reporting the rape to local law
enforcement.

        31. Defendant Perkins, under color of law and as an employee of CMS acting within

his official capacity as Assistant Principal, failed and refused to take action under Title IX to

investigate or resolve Ms. Doe's complaint of sexual assault. Defendant Perkins had the legal

authority, duty, and obligation to address this complaint.

        32. Upon information and belief, Defendant CMS only investigated and disciplined

Q.W. for truancy.

       33. When Ms. Doe's father arrived at MPHS, he immediately observed his daughter's

trauma, disheveled appearance, and the lack of any compassion towards her.

       34. Ms. Doe's father overheard Defendant Leak warn Ms. Doe that if she was not

telling the truth about the sexual assault she could be charged with a crime.

       35. Ms. Doe's father promptly took her to Carolinas Health Care System for emergency

medical attention and a rape kit to preserve forensic evidence of the rape.




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        36. Both Ms. Doe's parents and the emergency room nurses repeatedly called

Charlotte-Mecklenburg Police Department ("CMPD") without any officer responding to take Ms.

Doe's statement or collect the rape kit. In total, there were eight calls made to 911.

        37. Upon information and belief, CMPD did not respond because Defendant Leak had

filed a report stating that Ms. Doe skipped class (with no indication of the reported rape). As a

result, CMPD never responded to the emergency room to collect the rape kit or take Ms. Doe's

criminal complaint.

       38. While protecting their daughter's anonymity, Ms. Doe's parents contacted the local

media regarding CMPD's failure to investigate the rape and Defendants' role in obstructing Ms.

Doe's criminal complaint. See Nick Ochsner, "Parents Question CMPD Handling of Daughter's

Reported Sexual Assault," WBTV (Nov. 23, 2015), available at

http://www.wbtv.com/story/30583871/parents-question-cmpd-handling-of-daughters-reported-

sexual-assault/.

       39. After the local media report, on November 18,2015 (15 days after Ms. Doe reported

being raped) (15 days after the rape), CMPD created the first record of Ms. Doe's reported rape.

       40. Ms. Doe's family reported the circumstances of the rape and the actions and

inactions of Defendants to the U.S. Department of Education's Office for Civil Rights ("OCR").

Following an federally investigation, on December 5, 2017, OCR released its finding (Case No.

11-16-1348) that Defendant CMS was not in compliance with Title IX during the time of the

reported rape.

       41. OCR specifically found (through admission by Defendant CMS) that "it did not

have a designated Title IX Coordinator or anyone specifically designated or responsible for




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 investigation or responding to complaints/reports alleging discrimination on the basis of sex,

including sexual harassment and sexual assault/violence" at the times relevant to this Complaint.

        42. This is at least the second time OCR has found Defendant CMS out of compliance

with Title IX regarding complaints of sexual harassment and/or violence against its students.

        43. Ms. Doe sought psychological care for her extreme emotional distress and related

harms, took a temporary leave of absence from MPHS, then permanently transferred out ofMPHS

and missed her senior year of high school with her classmates and friends.

                                     CLAIMS FOR RELIEF

                                            COUNT I
           (Deliberate Indifference in Violation of Title IX, 20 U.S.C. §§ 1681, et al.,
                                     against Defendant CMS)

       44. Plaintiff incorporates by reference the allegations of facts contained in the previous

paragraphs, as if fully set forth herein.

       45. At all relevant times to this complaint, Ms. Doe was a minor student enrolled at

MPHS seeking access to education opportunities and benefits provided by Defendant CMS.

       46. Defendant CMS is the corporate entity designated by the State of North Carolina to

control and supervise MPHS, which is a public secondary school meeting the definition of an

"educational institution" under Title IX, 20 U.S.C. § 1681(c). Defendant CMS and/or MPHS

receives federal funding from the U.S. Department of Education and thus is subject to the

requirements of Title IX, 20 U.S.C. §§ 1681,et seq.

       47. The abduction and rape of Ms. Doe by Q.W. constitutes sexual harassment, which

is discrimination on the basis of sex prohibited under Title IX, 20 U.S.C. § 1681(a).

       48. Defendant CMS exercised substantial control over Q.W., a student at MPHS, and

had substantial control over the context of the sexual harassment, as its own agent, Defendant



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 Leak, observed the forcible abduction and he received ongoing notice about Ms. Doe's abduction
 and need for immediate intervention.

        49. The abduction and rape of Ms. Doe is sexual harassment sufficiently severe to

create a hostile educational environment at CMS and thus impact her access to education. Ms.

Doe took a temporary leave of absence after the rape then permanently transferred out of MPHS

to miss her senior year of high school with her classmates and friends.

        50. Defendant CMS had actual knowledge that Q.W. abducted Ms. Doe through its

agent, Defendant Leak. Defendant CMS also had actual knowledge that Q.W. raped Ms. Doe as

part of this abduction through its agent, Defendant Leak, and through its employee. Defendant

Perkins.

        51. At all relevant times, Defendant Leak was an agent ofCMS acting within the scope

of his duties and authority at CMS. Pursuant to N.C. Gen. Stat. §1150-47(61), SSROs "provide

security" to ensure a "safe school environment." Defendant Leak is therefore an appropriate
official able to address sex discrimination and to institute corrective action on behalf of CMS,

pursuant to Title IX.

       52. At all relevant times, Defendant Perkins was an employee of CMS acting within

the scope of his employment and authority at CMS. Furthermore, Defendant Perkins was an

appropriate official able to address sex discrimination and to institute corrective action on behalf

ofCMS, pursuant to Title IX.

       53. By and through its agents and officials, Defendant CMS was deliberately

indifferent and negligent when it and its officials refused to respond and prevent Q.W.'s abduction

and subsequent rape of Ms. Doe. This deliberate indifference and negligence left Ms. Doe subject




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 to an abduction and rape that impeded her ongoing access to educational opportunities and benefits

at MPHS, and CMS more generally.

        54. Defendant CMS's failure to act upon Q.W.'s abduction of Ms. Doe constitutes

deliberate indifference. Defendant Leak had three opportunities to intervene and rescue Ms. Doe

from the unwelcome sexual harassment and physical abduction by Q.W., yet he repeatedly failed

to take any action as an agent of CMS. As a direct result, Ms. Doe was raped.

        55. Defendant CMS's response to Q.W.'s rape of Ms. Doe was clearly unreasonable in

light of the known circumstances to constitute deliberate indifference. Defendants Leak and

Perkins observed Ms. Doe's disheveled appearance, which included semen on her shirt to evidence

the sexual harassment, and Defendant Leak learned of the rape from Ms. Doe. Despite this, CMS,

by and through its officials, failed to take her complaint to investigate or resolve the sexual

violence as required under Title IX. Furthermore, Defendant Leak discouraged her from taking

action by suggesting she could be arrested for a false report. He then filed a false report with

CMPD claiming Ms. Doe skipped school without any mention of the rape, which obstructed her

criminal complaint. As a result, Q.W. suffered no disciplinary or criminal action for the reported

rape of Ms. Doe.

        56. Defendant CMS, by and through its agents and officials, perpetuated a hostile

educational environment for Ms. Doe at MPHS without remedy, as required under Title IX.

Furthermore, Defendant CMS accused Ms. Doe of truancy to threaten disciplinary action instead

of investigating the reported rape.

       57. As a direct and proximate result of Defendant CMS's deliberate indifference, by

and through its agents, Ms. Doe sustained and continues to sustain injuries for which she is entitled

to be compensated, including but not limited to:



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            a. Past, present, and future physical and psychological pain, suffering, and

                impairment;

            b. Medical bills, counseling, and other costs and expenses for past, present, and future

                medical and psychological care;

            c. Loss of educational access and opportunity;

            d. Past, present, and future economic losses, including lost wages;

            e. Attorneys' fees and costs; and

            f. Such other and further relief that this Court deems just and proper.

                                          COUNT II
  (Violation of Property & Liberty Interest under Fourteenth Amendment, 42 U.S.C. § 1983,
                                    against Defendant Leak)

        58. Plaintiff incorporates by reference the allegations of facts contained in the previous

paragraphs, as if fully set forth herein.

        59. Defendant Leak is a local law enforcement employee who was contracted to work

as an agent ofCMS, specifically a SSRO. At all times relevant to this complaint, Defendant Leak

worked at MPHS and acted under color of law within the scope of his agency as a SSRO.

       60. The State of North Carolina has created a property interest in students having "equal

opportunities . . . for all students" to access "free public schools." N.C. Const., Art. IX; N.C. Gen.

Stat.§ 115C-1.

       61. The State of North Carolina also has created a property and liberty interest in

students having a "safe school environment." N.C. Gen. Stat. § 115C-47(61).

       62. To fulfill its legal duty to provide a safe school environment to Ms. Doe, and

pursuant to N.C. Gen. Stat. §1150-47(61), Defendant CMS obtained security for MPHS through

local law enforcement to obtain an SSRO.




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        63. Pursuant to CMS policies, practices, customs, and/or regulations disregarding

 students leaving school premises during school hours, Defendant Leak acted in bad faith to deny

Ms. Doe her rights to both a free public education and a safe school environment when he failed

to prevent, intervene, or otherwise rescue her upon observing Q.W. forcibly abduct her from school

premises during school hours.

        64. Pursuant to CMS policies, practices, customs, and/or regulations disregarding

sexual harassment and violence. Defendant Leak acted in bad faith to deprive Ms. Doe her rights

to a free public education and safe school environment when he failed to investigate or resolve

Ms. Doe's report that Q.W. abducted from school premises during school hours, through the use

of physical force, and raped her in the woods adjacent to MPHS's main campus.

        65. Defendant Leak's deprivation of Ms. Doe's rights to a free public education and

safe school environment constitutes deliberate indifference and thus violates her constitutionally

protected property and liberty interests under the Fourteenth Amendment to the U.S. Constitution.

       66. Defendant Leak's violation of Ms. Doe's substantive due process rights under the

Fourteenth Amendment to the U.S. Constitution directly and proximately caused great injury and

damage to these legally protected interests, for which she is entitled to compensatory and
exemplary damages.

       67. As a direct and proximate result of Defendant Leak's deliberate indifference to her

constitutionally protected rights, Ms. Doe sustained and continues to sustain injuries for which she

is entitled to be compensated, including but not limited to:

           a. Past, present, and future physical and psychological pain, suffering, and
               impairment;




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            b. Medical bills, counseling, and other costs and expenses for past, present and future

                medical and psychological care;

            c. Loss of educational access and opportunity;

            d. Past, present, and future economic losses, including lost wages;

            e. Attorneys' fees and costs; and

            f. Such other and further relief that this Court deems just and proper.

                                            COUNT III
  (Violation of Property & Liberty Interest under Fourteenth Amendment, 42 U.S.C. § 1983,
                                    against Defendant Perkins)

        6 8. Plaintiff incorporates by reference the allegations of facts contained in the previous
paragraphs, as if fully set forth herein.

       68. Defendant Perkins is an employee of CMS who at all times relevant to this

complaint worked at MPHS and acted under color of law within the scope of his employment.

       69. The State of North Carolina has created a property interest in students having "equal

opportunities . .. for all students" to access "free public schools." N.C. Const., Art. IX; N.C. Gen.
Stat.§ 115C-1.

       70. The State of North Carolina also has created a property and liberty interest in

students having a "safe school environment." N.C. Gen. Stat. § 1150-47(61).

       71. Pursuant to CMS policies, practices, customs, and/or regulations disregarding

sexual harassment and violence, Defendant Perkins acted in bad faith to deprive Ms. Doe her rights

to a free public education and safe school environment when he failed to investigate or resolve

Ms. Doe's report that Q.W. abducted from school premises during school hours, through the use
of physical force, and raped her in the woods adjacent to MPHS's main campus.




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        72. Defendant Perkin's deprivation of Ms. Doe's rights to a free public education and

 safe school environment constitutes deliberate indifference and thus violates her constitutionally

protected property and liberty interests under the Fourteenth Amendment to the U.S. Constitution.

        73. Defendant Perkin's violation oflVIs. Doe's substantive due process rights under the

Fourteenth Amendment to the U.S. Constitution directly and proximately caused great injury and

damage to these legally protected interests, for which she is entitled to compensatory and

exemplary damages.

        74. As a direct and proximate result of Defendant Perkin's deliberate indifference to

her constitutionally protected rights, Ms. Doe sustained and continues to sustain injuries for which

she is entitled to be compensated, including but not limited to:

            a. Past, present, and future physical and psychological pain, suffering, and

                impairment;

            b. Medical bills, counseling, and other costs and expenses for past, present, and future

                medical and psychological care;

            c. Loss of educational access and opportunity;

            d. Past, present, and future economic losses, including lost wages;

            e. Attorneys' fees and costs; and

            f. Such other and further relief that this Court deems just and proper.

                                            COUNT IV
               {Failure to Train under Fourteenth Amendment, 42 U.S.C. § 1983,
                                    against Defendant CMS)

       75. Plaintiff incorporates by reference the allegations of facts contained in the previous

paragraphs, as if fully set forth herein.




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        76. The State of North Carolina granted local board of education CMS control and
 supervision over schools within its administrative unit, such as MPHS. See N.C. Gen. Stat. §§
 115C-36, 115C-40. CMS is therefore a person acting under the color of law within the meaning
of42U.S.C.§ 1983.

        77. Upon information and belief, at all relevant times, Defendant CMS engaged in

policy-making to supervise and control all policies, practices, customs, and regulations regarding
MPHS and its students. These policies included reporting and responding to crimes and related
misconduct, such as abductions and sexual assaults.

        78. Upon information and belief, at all relevant times, Defendant CMS engaged in
policy-making it also had a duty to train its employees, such as Defendant Perkins, on how to
prevent and address crimes and related misconduct, such as abductions and sexual assaults.
       79. Upon information and belief, at all relevant times, Defendant CMS engaged in
policy-making it also had a duty to train its agents, such as Defendant Leak, on how to prevent and
address crimes and related misconduct, such as abductions and sexual assaults.

       80. Upon information and belief, at all relevant times, Defendant CMS's failure to train
Defendants Perkins and Leak effectively denied Ms. Doe's constitutionally protected property and
liberty interests in accessing free public education and a safe learning environment.
       81. Defendant CMS's denial of Ms. Doe's right to a free public education and safe
school environment violates her substantive due process rights under the Fourteenth Amendment
to the U.S. Constitution, and directly and proximately caused great injury and damage to these
legally protected interests, for which she is entitled to compensatory and exemplary damages.




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        82. As a direct and proximate result of Defendant CMS's deliberate indifference to her

 constitutionally protected rights, Ms. Doe sustained and continues to sustain injuries for which she

 is entitled to be compensated, including but not limited to:

            a. Past, present, and future physical and psychological pain, suffering, and
                impairment;

            b. Medical bills, counseling, and other costs and expenses for past, present, and future

                medical and psychological care;

            c. Loss of educational access and opportunity;

            d. Past, present, and future economic losses, including lost wages;

            e. Attorneys' fees and costs; and

            f. Such other and further relief that this Court deems just and proper.

                                          COUNT V
                                 (Premises Liability against CMS)

        83. Plaintiff incorporates by reference the allegations of facts contained in the previous
paragraphs, as if fully set forth herein.

        84. Defendant CMS holds the real property ofMPHS's campus, which includes 64-

acres. N.C. Gen. Stat. § 115C-40. Upon information and belief, the real property of MPHS
includes a wooded area adjacent to its main campus.

       85. Defendant CMS had a legal duty to provide a "safe school environment" for its
students. SeeVf.C. Gen. Stat. § 115C-1.

       86. Upon information and belief, Defendant CMS, by and through its agents and

officials, were aware that the wooded area adjacent to MPHS's main campus is a dangerous
location where sexual assaults have occurred.




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        87. To ensure a safe environment, Defendant CMS prohibited JVIPHS students from

entering the wooded area immediately adjacent to the main campus without supervision during the

school day, and it has the power and control over its students to enforce such restrictions.

Specifically, the 2015-20 16 Student Handbook for MPHS stated: "Students may not leave campus

without permission from an administrator."

        88. Defendant CMS, by and through its agent, Defendant Leak, breached its duty of

care that a reasonable and prudent local board of education would have provided a minor student,

like Ms. Doe, during school hours, when it allowed fellow student Q.W. to forcibly abduct her

from school premises during school hours without any intervention, investigation, notification to

other school personnel or law enforcement, or other efforts to rescue Ms. Doe.

       89. A local board of education of ordinary prudence would have reasonably foreseen

that Ms. Doe would likely suffer harm, including sexual assault and related injuries, as being a

probable result of an older male student, Q.W., abducting a minor female student, Ms. Doe, from

MPHS's main campus into the woods. This foreseeability is supported by Ms. Doe's repeated

efforts to obtain help and express her fear of attack through text messages to her classmates and

mother, which resulted in Defendant Leak being contacted to intervene and rescue Ms. Doe

without avail.


       90. Through the observations of its agent, Defendant Leak, Defendant CMS knew Q.W.

had violent propensities given his forcible abduction of Ms. Doe. Defendant CMS furthermore

received notice of the same through J.D. conveying Ms. Doe's text messages during the abduction

and Ms. Doe's father later calling MPHS. Despite having the ability and opportunity to control

Q.W., a student on school property during school hours, during the time of the abduction,

Defendant CMS, by and through its agents and officials, breached its duty of care by failing to




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 take any action to intervene, investigate, notification other school personnel or law enforcement,
 or otherwise rescue Ms. Doe.

        91. Defendant's refusal to act under the circumstances was willful and wanton,

 demonstrating conscious and intentional disregard of and indifference to the rights and safety of

 Ms. Doe, which Defendant knew or should have known was reasonably likely to result in injury.

        92. Defendant CMS's breach of its duty of care owed to Ms. Doe, by and through

Officer Leak, is the direct and proximate cause of great injury and damage, for which she is entitled

to compensatory and exemplary damages.

        93. As a direct and proximate result of CMS's breach of its duty of care, Ms. Doe

sustained and continues to sustain injuries for which she is entitled to be compensated, including
but not limited to:

            a. Past, present, and future physical and psychological pain, suffering, and

                impairment;

            b. Medical bills, counseling, and other costs and expenses for past, present, and future

                medical and psychological care;

            c. Loss of educational access and opportunity;

            d. Past, present, and future economic losses, including lost wages;

            e. Punitive damages; and

            f. Such other and further relief that this Court deems just and proper.

                                          COUNT VI
                               (Negligence against Defendant Leak)

        94. Plaintiff incorporates by reference the allegations of facts contained in the previous

paragraphs, as if fully set forth herein.




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        95. As an agent ofCMS, Defendant Leak had legal duties to ensure Ms. Doe the equal

opportunity to access free public education at MPHS, including, inter alia, pursuant to N.C. Const.,

Art. IX;N.C. Gen. Stat. § 115C-1.

        96. As an agent of CMS, Defendant Leak had legal duties to provide a "safe school

environment" for Ms. Doe at MPHS, including, inter alia, pursuant to N.C. Gen. Stat. § 115C-1.

        97. Pursuant to N.C. Gen. Stat. §1150-47(61), Defendant CMS contracted to have

Defendant Leak provide security as an SSRO at MPHS and thus ensure equal opportunity for its

students to access free public education in a safe school environment.

        98. As an SSRO, Defendant Leak owed a duty of care to Ms. Doe as a student at MPHS

entitled to equal opportunity and access to free public education in a safe school environment.

       99. Defendant Leak breached these duties when he failed to prevent, intervene or

otherwise address Q.W.'s forcible abducted of Ms. Doe from school premises during school hours.

        100. An SSRO of ordinary prudence would have reasonably foreseen that Ms. Doe

would likely suffer harm, including sexual assault and related injuries, as being a probable result

of an older male student abducting a minor female student from MPHS's main campus into the

woods. This foreseeability is supported by Ms. Doe's repeated efforts to obtain help and express

her fear of attack through text messages to her classmates and mother, which resulted in Defendant

Leak being contacted to intervene and rescue Ms. Doe without avail.

       101. Defendant Leak knew Q.W. had violent propensities given his observation of the

forcible abduction of Ms. Doe. Defendant Leak furthermore received notice of the same through

J.D. conveying Ms. Doe's text messages during the abduction and Ms. Doe's father later calling

MPHS. Despite having the ability and opportunity to control Q.W., a student on school property

during school hours, during the time of the abduction, Defendant Leak breached his duty of care



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 owed to Ms. Doe by failing to take any action to intervene, investigate, notification other school

personnel or law enforcement, or otherwise rescue her.

        102. Defendant Leak's breach of his duty of care is the direct and proximate cause of

great injury and damage to Ms. Doe, and further denied her access to free public education in a

safe learning environment.

        103. As a direct and proximate result of Defendant Leak's breach of the duty of care

owed to Ms. Doe, she sustained and continues to sustain injuries for which she is entitled to be

compensated, including but not limited to:

            a. Past, present, and future physical and psychological pain, suffering, and

                impairment;

            b. Medical bills, counseling, and other costs and expenses for past and future medical

                and psychological care;

            c. Loss of educational access and opportunity;

            d. Past, present, and future economic losses, including lost wages;

           e. Such other and further relief that this Court deems just and proper.

                                         COUNT VII
                             (Negligence against Defendant Perkins)

        104. Plaintiff incorporates by reference the allegations of facts contained in the previous

paragraphs, as if fully set forth herein.

        105. As an employee ofCMS, Defendant Perkins had legal duties to ensure Ms. Doe the

equal opportunity to access free public education at MPHS, including, inter alia, pursuant to N.C.

Const., Art. IX; N.C. Gen. Stat. § 115C-1.




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        106. As an employee of CMS, Defendant Perkins had legal duties to provide a "safe

school environment" for Ms. Doe at MPHS, including, inter alia, pursuant to N.C. Gen. Stat. §

115C-1.

        107. Defendant CMS employed Defendant Perkins to ensure all students had an equal

opportunity to access free public education in a safe school environment at MPHS.

        108. As an employee, Defendant Perkins owed a duty of care to Ms. Doe as a student at

MPHS entitled to equal opportunity and access to free public education in a safe school

environment.


        109. Defendant Perkins breached his duty when he failed to investigate or resolve Ms.

Doe's complaint of rape against Q.W. to instead accuse her of truancy.

        110. A school official of ordinary prudence would have reasonably foreseen that Ms.

Doe would suffer a loss of her educational access and a safe learning environment, as well as

related injuries, as a result ofMPHS failing to address the sexual assault.

        111. Defendant Perkins observed that Ms. Doe was disheveled with semen on her shirt

after locating her near the woods with Q.W. He also learned that Ms. Doe had sent numerous text

messages asking for rescue prior to Q.W. sexually attacking her, which she reported to Defendant

Leak. Despite this, Defendant Perkins breached his duty of care by failing to investigate or resolve

Ms. Doe's complaint of rape.

       112. Defendant Perkin's breach of his duty of care is the direct and proximate cause of

great injury and damage to Ms. Doe, and further denied her access to free public education in a

safe learning enviromnent.




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        113. As a direct and proximate result of Defendant Perkin's breach of the duty of care

 owed to Ms. Doe, she sustained and continues to sustain injuries for which she is entitled to be

compensated, including but not limited to:

            a. Past, present, and future physical and psychological pain, suffering, and

                impairment;

            b. Medical bills, counseling, and other costs and expenses for past and future medical

                and psychological care;

            c. Impaired educational capacity; and

            d. Such other and further relief that this Court deems just and proper.

                                         COUNT VIII
              (Negligent Infliction of Emotional Distress against Defendant Leak)

        114. Plaintiff incorporates by reference the allegations of facts contained in the previous

paragraphs, as if fully set forth herein.

        115. Defendant Leak acted negligently, recklessly, and in bad faith when he failed to

intervene or rescue her from a forcible abduction from school premises during school hours, falsely

claimed that Ms. Doe voluntarily skipped class, and made a false report to CMPD that impeded a

criminal investigation.

        116. As a result of Defendant Leak's negligence, Ms. Doe suffered a preventable rape,

faced accusations of truancy, lost her equal opportunity to access free public education in a safe

campus environment, and had her criminal complaint and rape kit neglected by CMPS for 15 days.

       117. As a direct and proximate result of Defendant Leak's negligence, Ms. Doe

sustained and continues to sustain injuries for which she is entitled to be compensated, including
but not limited to:




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            a. Past, present, and future physical and psychological pain, suffering, and

               impairment;

           b. Medical bills, counseling, and other costs and expenses for past and future medical

               and psychological care;

           c. Impaired educational capacity; and

           d. Such other and further relief that this Court deems just and proper.

                                    REQUEST FOR RELIEF

       WHEREFORE Plaintiff respectfully requests that this Court grant her a jury trial seeking:

(a) compensatory and exemplary damages in an amount that exceeds $75,000.00, to be proven at

trial; (b) reasonable attorneys' fees, costs, and expenses; and (c) all other and further relief that

justice may require.

                                         JURY DEMAND

       Plaintiff respectfully requests a trial by a jury.

       This 1st day of November, 2018.

                                              /s/ Geraldine Sumter
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